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                                  CERTIFICATE OF SERVICE



        I, Maria Aprile Sawczuk, hereby certify that on July 8, 2014, I caused to have served true

and correct copies of the Emergency Motion for Entry of an Order Determining Applicability of

the Automatic Stay to Non-Bankruptcy Litigation Involving Certain of the Debtors on all parties

of interest electronically through the Court’s CM/ECF system, and upon the parties listed on the

attached service list via first class mail, postage prepaid.



                                                        /s/ Maria Aprile Sawczuk
                                                        Maria Aprile Sawczuk
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ABRAMS & BAYLISS LLP                            BINGHAM MCCUTCHEN LLP
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AEP TEXAS NORTH COMPANY                         BLUME FAULKNER SKEEN &
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1 RIVERSIDE PLAZA                               (COUNSEL TO NATIONAL FIELD
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                                                ATTN: BRETTON C. GERARD
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EFIH UNSECURED
NOTEHOLDERS AND EFIH SECOND                     BNSF RAILWAY COMPANY
LIEN DIP COMMITMENT)                            C/O HAYNES & BOONE, LLP
ATTN: SCOTT ALBERINO;                           ATTN: IAN T. PECK, ESQ.
JOANNA NEWDECK                                  201 MAIN STREET, SUITE 2200
ROBERT S. STRAUSS BUILDING                      FORT WORTH, TX 76102-3126
1333 NEW HAMPSHIRE AVENUE, NW
WASHINGTON, DC 20036-1564                       ADA CARBON SOLUTIONS
                                                (RED RIVER ENVIRONMENTAL
AMECO INC                                       PRODUCTS)
ATTN: DEAN SMITH                                ATTN: PETER O. HANSEN
2106 ANDERSON ROAD                              1460 W. CANAL COURT, SUITE 100
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ANDREWS KURTH LLP                               AKERMAN LLP
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ATTN: LINO MENDIOLA                             ATTN: SUNDEEP S. SIDHU
111 CONGRESS AVENUE SUITE 1700                  420 S. ORANGE AVENUE, SUITE 1200
AUSTIN, TX 78701                                ORLANDO, FL 32801-4904

AUTOMATIC SYSTEMS INC                           ALCOA
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9230 EAST 47TH STREET                           201 ISABELLA STREET
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BENCHMARK INDUSTRIAL SERVICES                   AMERICAN STOCK TRANSFER & TRUST
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KILGORE, TX 75662                               6201 15TH AVENUE
                                                BROOKLYN, NY 11219
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ASHBY & GEDDES, P.A.                           AKIN GUMP STRAUSS HAUER & FELD
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SAVINGS/WSFS)                                  (COUNSEL TO AD HOC COMMITTEE OF
ATTN: WILLIAM BOWDEN ESQ &                     EFIH UNSECURED NOTEHOLDERS AND
GREGORY TAYLOR ESQ                             EFIH SECOND LIEN DIP COMMITMENT)
PO BOX 1150                                    ATTN: IRA DIZENGOFF; ABID QURESHI;
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                                               ROBERT BOLLER; CHRISTOPHER
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                                               ONE LOGAN SQUARE
                                               130 NORTH 18TH STREET
                                               PHILADELPHIA, PA 19103
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BNSF RAILWAY COMPANY                             CIARDI CIARDI & ASTIN
ATTN: PETER LEE, SENIOR GENERAL                  (COUNSEL TO ATMOS ENERGY
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FORT WORTH, TX 76131-2828                        BALL OXYGEN CO.)
                                                 ATTN: DANIEL ASTIN; JOHN
BOKF, NA DBA BANK OF ARIZONA                     MCLAUGHLIN, JR.;
ATTN: CYNDI WILKINSON                            JOSEPH J. MCMAHON JR
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                                                 ATTN: RYAN FALCONER
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                                                 STREHLE ESQ
                                                 JEREMY COFFEY ESQ
                                                 ONE FINANCIAL CENTER
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BRYAN CAVE LLP                                   BROWN & CONNERY, LLP
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                                                 RESOURCES, LLC)
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CITY OF FORT WORTH                               ZORI MIGLIORINI,STANDBY LETTER
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                                                 O'NEAL; HUMAYUN KHALID
                                                 ONE LIBERTY PLAZA
                                                 NEW YORK, NY 10006
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COMPTROLLER OF PUBLIC ACCOUNTS                  DRINKER BIDDLE & REATH LLP
OF THE STATE OF TX OFFICE OF THE                (COUNSEL TO CITIBANK NA, TCEH DIP
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& JOHN MARK STERN                               WILMINGTON, DE 19801-1621
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                                                AL
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                                                ATTN: HAROLD KAPLAN ESQ, MARK
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ATTN: KARLOS COURTNEY                           LARS PETERSON ESQ
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SUITE 1001                                      & RESEARCH CO.)
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                                                L. JARASHOW
                                                THE NEW YORK TIMES BUILDING
                                                620 EIGHTH AVENUE
                                                NEW YORK, NY 10018
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COUSINS CHIPMAN & BROWN, LLP                  FOX ROTHSCHILD LLP
(COUNSEL TO AD HOC COMMITTEE OF               (COUNSEL TO AD HOC GROUP OF TCEH
EFIH UNSECURED                                UNSECURED NOTEHOLDERS)
NOTEHOLDERS AND EFIH SECOND                   ATTN: JEFFREY SCHLERF; JOHN
LIEN DIP COMMITMENT)                          STROCK; L. JOHN BIRD
ATTN: SCOTT COUSINS; MARK                     919 NORTH MARKET STREET, SUITE 300
OLIVERE; ANN KASHISHIAN                       WILMINGTON, DE 19801
1007 NORTH ORANGE STREET
SUITE 1110                                    FRISCO CONSTRUCTION SERVICES
WILMINGTON, DE 19801                          ATTN: CLAY THOMAS
                                              9550 JOHN W. ELLIOTT DRIVE
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                                              BROWN, LLC
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2711 CENTERVILLE RD STE 400                   WILMINGTON, DE 19801
WILMINGTON, DE 19808
                                              GRAINGER
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LOUIS CURCIO ESQ                              COWLES & THOMPSON
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DALLAS, TX 75201                              MANAGEMENT & RESEARCH CO.)
                                              ATTN: MICHAEL J. JOYCE
EPIQ BANKRUPTY SOLUTIONS, LLC                 PO BOX 1380
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ATTN: JAMES KATCHADURIAN, E.V.P.
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NEW YORK, NY 10017                            (ROLLS ROYCE)
                                              MILES COWDRY,ROLLS-ROYCE CIVIL
                                              NUCLEAR,994-A EXPLORER BLVD
                                              HUNTSVILLE, AL 35806

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                                              ATTN: MARCUS M. TARKINGTON
                                              60 WALL STREET (NYCC60-0266)
                                              NEW YORK, NY 10005-2836
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EMC CORPORATION                                   SHAW MAINTENANCE (CB&I)
C/O RECEIVABLE MANAGEMENT                         ATTN: RICHARD E. CHANDLER, JR.
SERVICES (RMS)                                    C/O CB&I - ONE CB&I PLAZA
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COCKEYSVILLE, MD 21030
                                                  SITEL LLC
FLUOR GLOBAL SERVICES                             ATTN: DAVID BECKMAN
ATTN: CARLOS M. HERNANDEZ                         CHIEF LEGAL OFFICER
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                                                  CARL T. TULLSON
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HOUSTON, TX 77002                                 LLC)
                                                  ATTN: STEPHEN D. LERNER
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ATTN: JOHN POZNICK - CONTROLLER                   221 E. FOURTH ST., SUITE 2900
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TURTLE CREEK, PA 15145
                                                  TAGGART GLOBAL LLC
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                                                  COUNSEL (OPUC)
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SECURITAS SECURITY SERVICES USA                   THE BANK OF NEW YORK MELLON
ATTN: LEGAL DEPARTMENT                            TRUST COMPANY
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WESTLAKE VILLAGE, CA 91361                        601 TRAVIS STREET, 16TH FL
                                                  HOUSTON, TX 77002
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THE HOGAN FIRM                                 TAYLOR ENGLISH DUMA LLP
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                                               TRUST COMPANY
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KRISTHY M. PEGUERO                             NA)
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                                               ONE BATTERY PARK PLAZA
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                                               ATTN: STEVEN M. BURTON
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AUSTIN, TX 78704
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SKADDEN, ARPS, SLATE, MEAGHER &                 TRAVIS COUNTY
FLOM LLP                                        ATTN: KAY D. BROCK, ASSISTANT
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INFRASTRUCTURE MGMT INC.)                       PO BOX 1748
ATTN: JAY M. GOFFMAN                            AUSTIN, TX 78767
FOUR TIMES SQUARE
NEW YORK, NY 10036-6522                         TUCKER ARENSBERG, P.C.
                                                (COUNSEL TO THERMO FISHER
SNELL & WILMER LLP                              SCIENTIFIC INC. AND
(COUNSEL TO HEADWATERS                          AFFILIATES AND SUBSIDIARIES)
RESOURCES, INC.)                                ATTN: JORDAN S. BLASK, LARA E.
ATTN: DAVID E. LETA                             SHIPKOVITZ
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(COUNSEL TO HENRY PRATT                         JUSTICE
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WILMINGTON, DE 19801                            ATTN: MATTHEW J. TROY
                                                CIVIL DIVISION
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